                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 VALENTINO,

                         Plaintiff,
                                                                 CIVIL ACTION
        v.                                                       NO. 18-3816

 RUMER, et al.,

                         Defendants.



                                            ORDER

       AND NOW, this 7th day of October 2019, upon consideration of the letter (Doc. No. 14)

from the parties, dated September 10, 2019, informing the Court that the above-captioned case

has settled, it is ORDERED as follows:

       1.     The action is DISMISSED WITH PREJUDICE pursuant to Local Rule 41.1(b).

       2.     The Clerk of Court shall close this case for statistical purposes.



                                                     BY THE COURT:



                                                     / s/ J oel H. S l om sk y
                                                     JOEL H. SLOMSKY, J.
